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                                    EXHIBIT A
                                           EXHIBITS IN SUPPORT OF
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